             Case 16-17726-elf                    Doc          Filed 12/02/19 Entered 12/02/19 14:22:05                             Desc Main
                                                                Document     Page 1 of 6
 Fill in this information to identify the case:

  Debtor 1       Cherly A Vaughn Curry

  Debtor 2

 United States Bankruptcy Court for the: Eastern District of Pennsylvania

 Case number :    16-17726



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                    12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of              BANK OF AMERICA, N.A.                                                        Court claim no.                                       6
     creditor:                                                                                         (if known):
     Last 4 digits of any number                                                                       Date of payment change:                   01/01/2020
     you use to identify the debtor's                                       5430                       Must be at least 21 days after date of
     account:                                                                                          this notice

                                                                                                       New total payment:                         $498.16
                                                                                                       Principal, interest, and escrow, if any


Part 1:      Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ ] No
      [X]     Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                      Describe the basis for the change. If a statement is not attached, explain why:

                             Current escrow payment: $222.03                                New escrow payment: $206.12



Part : 2      Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?

      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                     notice is not attached, explain why:

                     Current interest rate:                                        New interest rate:
                     Current Principal and interest payment:                       New principal and interest payment:



Part 3:      Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X] No
       [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                      agreement. (Court approval may be required before the payment change can take effect).
                      Reason for change:
                             Current mortgage payment:                                      New mortgage payment:




Official Form 410S1                                                 Notice of Mortgage Payment Change                                                        page 1
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Debtor 1 Cherly A Vaughn Curry                                                        Case number (if known)           16-17726
                First Name              Middle Name           Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:


[]       I am the creditor.

[X]       I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


    /s/ Julian Cotton                                                                       Date     12/02/2019
    Signature



Print:                       Julian Cotton                                       Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                   Email              bkcrm@padgettlawgroup.com




Official Form 410S1                                                   Notice of Mortgage Payment Change                                       page 2
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                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties

on the attached Service List by electronic service and/or by First Class U.S. Mail on this the 2nd day of

December, 2019.



                                                     /S/ Julian Cotton

                                                     ___________________________________
                                                     JULIAN COTTON
                                                     PADGETT LAW GROUP
                                                     6267 Old Water Oak Road, Suite 203
                                                     Tallahassee, FL 32312
                                                     (850) 422-2520 (telephone)
                                                     (850) 422-2567 (facsimile)
                                                     bkcrm@padgettlawgroup.com
                                                     Authorized Agent for Creditor




Official Form 410S1                       Notice of Mortgage Payment Change                                 page 3
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                                SERVICE LIST (CASE NO. 16-17726)

Debtor
Cherly A Vaughn-Curry
1341 Farrington Rd.
Philadelphia, PA 19151
aka Cherly B Curry
aka Cherly Curry
aka Cherly Vaugn

Attorney
ALFONSO G. MADRID
Law Office of Alfonso Madrid
757 S. 8th St.
Philadelphia, PA 19147

Trustee
WILLIAM C. MILLER, Esq.
Chapter 13 Trustee
P.O. Box 1229
Philadelphia, PA 19105

US Trustee
United States Trustee
Office of the U.S. Trustee
200 Chestnut Street
Suite 502
Philadelphia, PA 19106




Official Form 410S1                  Notice of Mortgage Payment Change                      page 4
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                            CARRINGTON MORTGAGE SERVICES, LLC
                            P.O. Box 5001       Document                    Page 5 of 6
                            Westfield, IN 46074


(800) 561-4567           FAX: (949) 517-5220




                                                                                                                                                 SLMR 4000315430




CHERLY B CURRY
1341 FARRINGTON RD
                                                                                DATE: 10/18/19
PHILADELPHIA                   PA 19151




*** ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - LAST CYCLES ESCROW ACCOUNT HISTORY                                                 ***

THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE
ACTUAL ESCROW ACTIVITY BEGINNING JANUARY, 2019 AND ENDING DECEMBER, 2019. IF YOUR LOAN
WAS PAID-OFF, ASSUMED, OR TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS
BEING CHANGED, ACTUAL ACTIVITY STOPS AT THAT POINT. THIS STATEMENT IS INFORMATIONAL ONLY
AND REQUIRES NO ACTION ON YOUR PART.
                             - - - Y OUR PAY M E NT BR E AK DOW N AS OF J ANUAR Y, 2 0 1 9 I S - - -
                             PRIN & INTEREST                                     292.04
                             ESCROW PAYMENT                                      222.03
                             TOTAL                                               514.07
            -- PAYMENTS TO ESCROW --     -- PAYMENTS FROM ESCROW --               -- ESCROW BALANCE --
MONTH       PRIOR PROJECTED ACTUAL PRIOR PROJECTED DESCRIPTION ACTUAL DESCRIPTION PRIOR PROJECTED ACTUAL
                                                                      STARTING BALANCE         = = = >      2442.38           1019.25-
JAN           222.03    *                                                                                   2664.41           1019.25-
FEB           222.03    *         211.97         1356.69 *     CITY TAX         1245.83     CITY TAX        1529.75           2053.11-
MAR           222.03    *                        1307.72       HAZARD INS       1307.72     HOMEOWNERS       444.06 TLP       3360.83- ALP
APR           222.03    *         211.97                                                                     666.09           3148.86-
MAY           222.03    *                                                                                    888.12           3148.86-
JUN           222.03    *         211.97                                                                    1110.15           2936.89-
JUL           222.03    *         211.97                                                                    1332.18           2724.92-
AUG           222.03    *                                                                                   1554.21           2724.92-
SEP           222.03    *                                                                                   1776.24           2724.92-
OCT           222.03    *         225.92                                                                    1998.27           2499.00-
NOV           222.03                       E                                                                2220.30           2499.00-
DEC           222.03                       E                                                                2442.33           2499.00-
TOT          2664.36            1073.80           2664.41                       2553.55
UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHES ITS LOWEST POINT, THAT BALANCE IS TARGETED
NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE LAW MAY
SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.
UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT ESCROW BALANCE
(TLP) WAS $444.06. YOUR ACTUAL LOW POINT ESCROW BALANCE (ALP) WAS $3,360.83-.
BY COMPARING THE PROJECTED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN
DETERMINE WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE
AMOUNT OR DATE OF THE PROJECTED ACTIVITY AND THE ACTUAL ACTIVITY.
THE LETTER "E" BESIDE AN AMOUNT INDICATES THAT THE PROJECTED ACTIVITY HAS NOT YET OCCURRED DUE TO THE
DATE OF THIS STATEMENT.
IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION
TO WHICH THE ACTUAL ACTIVITY COULD BE COMPARED.
Your projected escrow balance consists of the following detail (an * next to an amount
indicates this is a total that represents more than one payment to or disbursement from escrow):

Escrow pay ments up to escrow analy sis effectiv e date:
07/17               $211.97           08/17            $211.97          09/17         $3,558.92       *




           ***     ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - PROJECTIONS                                 ***
                PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED.
THIS STATEMENT TELLS YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR
ANY SHORTAGE OR DEFICIENCY THAT YOU MUST PAY. IT ALSO SHOWS YOU THE PROJECTED ESCROW
A C T I V I T Y F O R Y O U R E S C R O W C Y C L E B E G I N N I N G J A N U A R Y, 2 0 2 0 A N D E N D I N G D E C E M B E R, 2 0 2 0.
---------------------   PROJECTED PAYMENTS FROM ESCROW - JANUARY, 2020 THROUGH DECEMBER, 2020                                   --------------
                             HOMEOWNERS INSU                                    1,227.72
                             CITY TAX                                           1,245.83

                             TOTAL                                              2,473.55
                             PERIODIC PAYMENT TO ESCROW                           206.12        (1/12 OF "TOTAL FROM ESCROW")

-------------------- PROJECT ED ESCROW ACT IVIT Y - JANUARY, 2020 T HROUGH DECEM BER, 2020 -----------------------
               ---- PROJECTED PAYMENTS --                            -- ESCROW BALANCE COMPARISON --
MONTH          TO ESCROW       FROM ESCROW       DESCRIPTION       PROJECTED        REQUIRED
                                ACTUAL STARTING BALANCE = = = >      2,650.48        2,267.43
JAN,20           206.12                                                                   2,856.60              2,473.55
FEB,20           206.12                1,245.83             CITY TAX                      1,816.89              1,433.84
MAR,20           206.12                1,227.72             HOMEOWNERS INSU                 795.29 ALP            412.24 RLP
APR,20           206.12                                                                   1,001.41                618.36
MAY,20           206.12                                                                   1,207.53                824.48
JUN,20           206.12                                                                   1,413.65              1,030.60
JUL,20           206.12                                                                   1,619.77              1,236.72
AUG,20           206.12                                                                   1,825.89              1,442.84
SEP,20           206.12                                                                   2,032.01              1,648.96
OCT,20           206.12                                                                   2,238.13              1,855.08
NOV,20           206.12                                                                   2,444.25              2,061.20
DEC,20           206.12                                                                   2,650.37              2,267.32


                                               * * * * CONTINUED ON NEXT PAGE * * * *
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                                              * * * * CONTINUATION * * * *



--------------------------------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE -----------------------------------

IF THE PROJECTED LOW POINT BALANCE (ALP) IS
GREATER THAN THE REQUIRED LOW POINT BALANCE (RLP) ,
THEN YOU HAVE AN ESCROW SURPLUS....                                           YOUR ESCROW SURPLUS IS....                 383.05 *


AT THE TIME OF YOUR BANKRUPTCY FILING, YOUR ESCROW SHORTAGE INCLUDED IN THE POC (PROOF OF CLAIM) IS $0.00.


*The statement assumes all past due payments have been made toward your loan. If there are past due payments,
this amount may not be accurate.
PLEASE CALL THE ABOVE PHONE NUMBER REGARDING YOUR SURPLUS.

------------------------------------- CALCULATIONS OF YOUR NEW PAYMENT AMOUNT ------------------------------------------------
                          PRIN & INTEREST                                292.04 *
                          ESCROW PAYMENT                                 206.12
BORROWER PAYMENT STARTING WITH THE PAYMENT DUE           01/01/20       ==>            498.16

* IF YOUR LOAN IS AN ADJUSTABLE RATE MORTGAGE, THE PRINCIPAL & INTEREST PORTION OF
  YOUR PAYMENT MAY CHANGE WITHIN THIS CYCLE IN ACCORDANCE WITH YOUR LOAN DOCUMENTS.
NOTE :       YOUR ESCROW BALANCE MAY CONTAIN A CUSHION. A CUSHION IS AN AMOUNT OF MONEY
             HELD IN YOUR ESCROW ACCOUNT TO PREVENT YOUR ESCROW BALANCE FROM BEING OVERDRAWN
             WHEN INCREASES IN THE DISBURSEMENTS OCCUR. FEDERAL LAW AUTHORIZES A MAXIMUM
             ESCROW CUSHION NOT TO EXCEED 1/6TH OF THE TOTAL ANNUAL PROJECTED ESCROW
             D I S B U R S E M E N T S M A D E D U R I N G T H E A B O V E C Y C L E . T H I S A M O U N T I S $ 4 4 4 . 0 6.
             YOUR LOAN DOCUMENTS OR STATE LAW MAY REQUIRE A LESSER CUSHION. YOUR MORTGAGE
             CONTRACT AND STATE LAW ARE SILENT ON THIS ISSUE. WHEN YOUR ESCROW BALANCE
             REACHES ITS LOWEST POINT DURING THE ABOVE CYCLE, THAT BALANCE IS TARGETED
             TO BE YOUR CUSHION AMOUNT.
             Y O U R E S C R O W C U S H I O N F O R T H I S C Y C L E I S $ 4 1 2 . 2 4.
 YOUR PROJECTED ESCROW BALANCE CONSISTS OF THE FOLLOWING DETAIL (AN * NEXT TO AN AMOUNT INDICATES
 THIS IS A TOTAL THAT REPRESENTS MORE THAN ONE PAYMENT TO OR DISBURSEMENT FROM ESCROW):

 Escrow pay ments up to escrow analy sis effectiv e date:
 02/18         $225.92                03/18            $225.92               04/18     $4,697.64*


IMPORTANT BANKRUPTCY NOTICE
If you have been discharged from personal liability on the mortgage because of bankruptcy
proceedings and have not reaffirmed the mortgage, or if you are the subject of a pending
bankruptcy proceeding, this letter is not an attempt to collect a debt from you but merely
provides informational notice regarding the status of the loan.  If you are represented by
an attorney with respect to your mortgage, please forward this document to your attorney.
CREDIT REPORTING
We may report information about your account to credit bureaus. Late payments, missed payments,
or other defaults on your account may be reflected in your credit report.  As required by law,
you are hereby notified that a negative credit report reflecting on your credit record may be
submitted to a credit reporting agency if you fail to fulfill the terms of your credit
obligations.
MINI MIRANDA
This communication is from a debt collector and it is for the purpose of collecting a debt and
any information obtained will be used for that purpose. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from anyone who has discharged the debt under the bankruptcy laws of the
United States.
HUD COUNSELOR INFORM AT ION
If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership
counselors or counseling organizations in your area by calling the HUD nationwide toll-free
telephone number at (800) 569-4287 or toll-free TDD (800) 877-8339, or by going to
http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You can also contact the CFPB at (855) 411-2372, or
by going to www.consumerfinance.gov/find-a-housing-counselor.
EQUAL CREDIT OPPORTUNITY ACT NOTICE
The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit
applicants on the basis of race, color, religion, national origin, sex, marital status, or age
(provided the applicant has the capacity to enter into a binding contract); because all or part
of the applicant’s income derives from any public assistance program; or because the applicant
has, in good faith, exercised any right under the Consumer Credit Protection Act. The Federal
Agency that administers CMS’ compliance with this law is the Federal Trade Commission, Equal
Credit Opportunity, Washington, DC 20580.
